      Case 3:97-cr-00111-LC-CJK       Document 333       Filed 06/07/05     Page 1 of 1

                                                                                     Page 1 of 1


                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         NORTHERN DISTRICT OF FLORIDA
                              PENSACOLA DIVISION

UNITED STATES OF AMERICA

vs.                                               CASE NO: 3:97cr111/LAC
                                                       3:03cv467/LAC/MD
CHARLES JUSTE
_____________________________________________________________________

                                            ORDER

       The defendant has filed a notice of appeal (doc. 328) and a motion for certificate of
appealability (doc. 329) with respect to the order entered on January 25, 2005 (doc. 322).
Unless a certificate of appealability is issued, the defendant may not take an appeal from
the final order denying section 2255 relief. See 28 U.S.C. 2253(c)(1)(B). Such a certificate
may issue “only if the applicant has made a substantial showing of the denial of a
constitutional right.” 28 U.S.C. § 2253(c)(2).
       Because the defendant has not made a substantial showing of the denial of a
constitutional right, and for the reasons set forth in this court’s order of January 25, 2005,
a certificate of appealability is DENIED.
       No motion for leave to proceed in forma pauperis has been filed. The defendant
has not shown that the appeal is taken in good faith or that he is otherwise entitled to so
proceed on appeal. Accordingly, the $255.00 filing fee shall be paid within 30 days from
the date of this order.
       DONE AND ORDERED this 7th day of June, 2005.




                                            s /L.A. Collier
                                            LACEY A. COLLIER
                                            SENIOR UNITED STATES DISTRICT JUDGE
